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                  IN THE UNITED ST ATES COURT OF FEDERAL CLAIMS
                                      Bid Protest


 ORACLE AMERICA, INC.,

                          Plaintiff,

             V.

 THE UNITED STATES,                                           No. 18-1880C

                          Defendant,                          Senior Judge Eric G. Bruggink


 AMAZON WEB SERVICES, INC.,


                          Defendant-Intervenor.


                     APPLICATION FOR ACCESS TO INFORMATION
                   UNDER PROTECTIVE ORDER BY OUTSIDE COUNSEL

        1.    I, Mark A. Perry, hereby apply for access to protected information covered by the
Protective Order issued in connection with this proceeding.

        2.      I am an attorney with the law firm of Gibson, Dunn & Crutcher LLP and have been
retained to represent Amazon Web Services, Inc., a party to this proceeding.

        3.        I am a member of the bar of the United States Court of Federal Claims (the court).

        4.      My professional relationship with the party I represent in this proceeding and its
personnel is strictly one of legal counsel. I am not involved in competitive decision making as
discussed in US. Steel Corp. v. United States, 730 F.2d 1465 (Fed. Cir. 1984), for or on behalf of
the party I represent, any entity that is an interested party to this proceeding, or any other firm that
might gain a competitive advantage from access to the information disclosed under the Protective
Order. I do not provide advice or participate in any decisions of such parties in matters involving
similar or corresponding information about a competitor. This means that I do not, for example,
provide advice concerning, or participate in decisions about, marketing or advertising strategies,
product research and development, product design or competitive structuring and composition of
bids, offers, or proposals with respect to which the use of protected information could provide a
competitive advantage.

        5.      I identify here (by writing "none" or listing names and relevant circumstances)
those attorneys in my firm who, to the best of my knowledge, cannot make the representations set
forth in the preceding paragraph:
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        6.      I identify here (by writing " none" or listing names, position, and responsibilities)
any member of my immediate family who is an officer or holds a management position with an
interested party in the proceeding or with any other firm that might gain a competitive advantage
from access to the information disclosed under the Protective Order.



        7.     I identify here (by writing "none" or identifying the name of the forum, case
number, date, and circumstances) instances in which I have been denied admission to a protective
order, had admission revoked, or have been found to have violated a protective order issued by
any administrative or judicial tribunal:



       8.      NIA

         9.     I have read the Protective Order issued by the court in this proceeding. I will comply
in all respects with that order and will abide by its terms and conditions in handling any protected
information produced in connection with the proceeding.

       10.     I acknowledge that a violation of the terms of the Protective Order may result in
the imposition of such sanctions as may be deemed appropriate by the court and in possible civil
and criminal liability.


                                                  *       *

       By my signature, I certify that, to the best of my knowledge, the representations set forth
above (including attached state1 ents) are true and correct.


 Isl
 Signature                                              Date Executed




 Teleph ne and Facsimile Numbers

 mperry@ gibsondunn.com
 Email Address
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                                                 December 18, 2019
Signature of Attorney of Record                  Date Executed

Daniel R. Forman, Partner (Attorney of Record)
Typed Name and Title

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